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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

                                        CLERK’S MINUTES

 CASE NO.:       8:15-cv-2787-T-17AEP                   DATE:     September 18, 2018

 HONORABLE ELIZABETH A. KOVACHEVICH

 ANGELA DEBOSE                                         PLAINTIFF COUNSEL
                                                       Angela DeBose, pro se
 v.

 USF BOARD OF TRUSTEES                                DEFENDANT COUNSEL
                                                      Richard McCrea & Cayla McCrea Page


 COURT REPORTER: David Collier                          DEPUTY CLERK:       Sonya Cohn

 TIME: 10:13 – 12:00; 1:03 – 2:27; 3:00 – 5:02          COURTROOM:          14A
 TOTAL: 5 hrs and 10 min.


PROCEEDINGS:         JURY TRIAL (DAY 6)

10:13 - Court in session – preliminary matters addressed with counsel
10:19 – Jury in courtroom; direct resumes of Ralph Wilcox
11:56 - Lunch break until 1:00 p.m.
1:03 - Court in session; Direct resumes of Ralph Wilcox
2:27 - Afternoon break until 3:00
3:00 - Court in session; Direct resumes of Ralph Wilcox
4:58 - Jury released until 10:00 on 9/19/2018
5:02 - Court adjourned.
